       Case: 2:24-cv-04042-MHW-CMV Doc #: 18 Filed: 10/22/24 Page: 1 of 1 PAGEID #: 368



                                     United States District Court
                                      Southern District of Ohio
                                 Eastern Division at Columbus, Ohio

Jill Stein, et al.,

-vs-                                                        Case No. 2:24-cv-4042

Frank LaRose


                                      COURTROOM MINUTES

 U.S. District Judge Michael H. Watson            Date: October 22, 2024
 Deputy Clerk            Jennifer Kacsor          Counsel for Pltf:        Mark Brown

 Court Reporter          Lahana DuFour            Counsel for Deft(s):     Heather Buchanan,
                                                                           Stephen Tabatowski, Mark
                                                                           David Tucker, Ann
                                                                           Yackshaw
 Interpreter                                      Pretrial/Probation:
 Log In                                           Log Out


Witness Anita Rios
Witness Philena Farley
Witness Hun Yi
